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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

In re:                                           )   Case No.: 18-35634
                                                 )
DENISE M KUBAS LONGO,                            )   Chapter 7
                                                 )
                                                 )   Honorable Pamela S. Hollis
                             Debtor(s).          )   (Joliet)
                                                 )

                                          NOTICE OF MOTION

To: See attached Service List

       PLEASE TAKE NOTICE that on February 15, 2019 at 10:00 a.m., or as soon thereafter
as counsel may be heard, I shall appear before the Honorable Pamela S. Hollis at the Joliet City
Hall, Second Floor, 150 West Jefferson Street, Joliet, Illinois, or whomever may be sitting in
place and stead, and then and there present the TRUSTEE’S APPLICATION TO EMPLOY
REAL ESTATE BROKER, a copy of which is attached hereto and hereby served upon you.

                                                  /s/ Joji Takada
                                                Bankruptcy Trustee

                                          PROOF OF SERVICE

        I, the undersigned attorney, certify that I served a copy of this NOTICE OF MOTION
and attached TRUSTEE’S APPLICATION TO EMPLOY REAL ESTATE BROKER upon the
person(s) listed above by mailing the same by First Class U.S. Mail at Chicago, Illinois on the
date set forth below, unless a copy was served electronically which occurs automatically upon
the filing of the aforesaid documents with the Clerk of the Bankruptcy Court through the
CM/ECF system.

Dated: February 7, 2019                                /s/ Joji Takada
                                                     Bankruptcy Trustee
Prepared by:
Joji Takada
TAKADA LAW OFFICE, LLC
6336 North Cicero Avenue, Suite 201
Chicago, Illinois 60646
Tel: 773-790-4888




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                            IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

In re:                                              )   Case No.: 18-35634
                                                    )
DENISE M KUBAS LONGO,                               )   Chapter 7
                                                    )
                                                    )   Honorable Pamela S. Hollis
                             Debtor(s).             )   (Joliet)
                                                    )

                               TRUSTEE’S APPLICATION TO EMPLOY
                                     REAL ESTATE BROKER

          Joji Takada (“Trustee”), not individually but as Chapter 7 Trustee of the bankruptcy

estate of Denise Kubas Longo (“Debtor”), pursuant to Section 327(a) of Title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 2014(a) of the Federal Rules of Bankruptcy

Procedure, respectfully requests entry of an order authorizing Trustee to employ Michael

Hansbrough and Prestige Properties Real Estate Pros, Inc. (collectively, “Broker”). In support of

this Application, Trustee states as follows:

                                             BACKGROUND

          1.         The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§157 and

1334. Venue is proper in this district pursuant to 28 U.S.C. §§1408 and 1409. Consideration of

the Application is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A), (M) and (O).

          2.         On December 28, 2018, Debtor filed a voluntary petition for relief under Chapter

7 of the Bankruptcy Code in the United States Bankruptcy Court for the Northern District of

Illinois, Eastern Division.

          3.         Joji Takada is the duly appointed and qualified Chapter 7 Trustee.

          4.         Schedule A lists Debtor’s ownership of that certain rental property commonly

known as 2116 Glenridge Court, Plainfield, Illinois (the “Real Property”).



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          5.         The scheduled value of the Real Property is $100,000, with a mortgage of

approximately $105,000.

          6.         Trustee has conferred with Broker and believes the value of the Real Property is

in excess of $165,000, taking into consideration the Real Property’s current condition.

          7.         Trustee believes liquidating the Real Property is in the best interest of creditors,

and desires to engage Broker to market and sell the Real Property pursuant to the Exclusive

Right to Sell Agreement and Rider to same (the “Listing Agreement”), a copy of which is

attached hereto as Exhibit A.

                                          RELIEF REQUESTED

          8.         Pursuant to 11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014(a), Trustee requests

the entry of an order authorizing Trustee to enter into the Listing Agreement and retain Broker as

Trustee’s real estate broker to market and sell the Real Property pursuant to the terms thereof.

                                   BASIS FOR RELIEF REQUESTED

          9.         Trustee requires the assistance of an experienced real estate broker for the purpose

of marketing the Real Property for sale.

          10.        Trustee has consulted with Broker and desires to enter into the Listing Agreement

with Broker.

          11.        Broker maintains offices at Two River Place, Suite E, Lansing, Illinois, and is

familiar with the area in which the Real Property is located.

          12.        Broker has substantial experience in marketing property similar to the Real

Property, and is qualified to assist Trustee in marketing the Real Property for sale.




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          13.        On information and belief, Broker is a disinterested party within the meaning of

Section 101(14) of the Bankruptcy Code. The Affidavit of Michael Hansbrough of Prestige

Properties Real Estate Pros, Inc. is attached hereto as Exhibit B.

          14.        Trustee has sent this Application to Debtor, Debtor’s counsel and the U.S. Trustee

on approximately seven days notice.

          WHEREFORE, Trustee respectfully requests that the Court enter an Order:

          A.         Authorizing Trustee to employ Michael Hansbrough of Prestige Properties Real

          Estate Pros, Inc. as Trustee’s real estate broker pursuant to the terms of the Listing

          Agreement;

          B.         Order Debtor to cooperate and assist Trustee and Trustee’s professionals in listing

          and marketing the real estate; and

          C.         Granting such other and further relief as this Court deems just and fair.

Dated: February 7, 2019                                   /s/ Joji Takada
                                                        Bankruptcy Trustee
Prepared by
Joji Takada
6336 North Cicero Avenue, Suite 201
Chicago, Illinois 60646
Tel: 773-790-4888

                                              SERVICE LIST

Electronic Mail Notice List:

 Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
 Dana N O'Brien dana.obrien@mccalla.com, NDistrict@mccalla.com
 John C Renzi jcrenzi@jprlaw.net

First Class Mail Notice List:

Denise M. Kubas Longo
2116 Glenridge Court
Plainfield, IL 60586




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                                      ILLINOIS ASSOCIATION OF REALTORS®
                                         EXCLUSIVE RIGHT TO SELL CONTRACT
                                (DUAL AGENCY DISCLOSURE AND CONSENT INCLUDED)

   1.   In consideration of the services to be performed by _________________________,
                                                              PRESTIGE PROPERTIES               (Brokerage Company, hereinafter referred
        to as “Broker”) and the commissions to be paid by _________________________,
                                                            JOJI TAKADA, CH 7 TRUSTEE         ("Seller"), the parties agree that Broker
        shall have the exclusive right to market and sell Seller's property upon the following terms and conditions:
                              12116 Glenridge Court
        Property Address:______________________________________________________________________________
        City: Plainfield                              , Illinois Zip:
        Marketing Price: $___________________
                              SEE ATTACHED RIDER
        Marketing Period: From SEE ATTACHED RIDER               2_____ through 11:59 p.m. on                  , 2_____.
   2.   Broker agrees to provide those brokerage services set forth in Section 15-75 of the Illinois Real Estate License Act of 2000.
   3.   If during the term of this Contract Broker obtains an offer to purchase the property from a ready, willing, and able buyer at the
        marketing price, or if Seller enters into a contract or receives an offer that results in a contract for the sale or exchange of the
        property at any price and upon any terms to which Seller consents, Seller shall be obligated to pay Broker a commission of
        ________________
         SEE ATTACHED RIDER percent (___%) of the total purchase price of the sale or exchange. The full commission is to be paid at
        closing, which in the case of a sale on contract for deed shall be at the time buyer and Seller execute the initial contract or
        agreement for deed.
   4.   Seller agrees that such a commission shall be paid if the property is sold or exchanged by Seller within a protection period of
        _________
         FORTY FIVE (__) 45 days following the term of this Contract or any extensions thereof to anyone to whom the property was
        presented during the term of this Contract. However, this provision shall not apply if Seller has entered into a valid, written
        listing agreement with another licensed real estate broker during the protection period.
   5.   In the event a purchase contract is entered into and buyer defaults without fault on the Seller's part, Broker will waive the
        commission, and this agreement shall be continued from the date of default through the date provided in paragraph 1. Should
        Seller default on any contract for the purchase or exchange of the property, any commission owed under this agreement shall
        become payable immediately.
        [5. ALTERNATE TO BE SUBSTITUTED IN LIEU OF THE ABOVE ¶5.] In the event a purchase contract is entered into and
              buyer defaults with or without fault on the Seller’s part, any commission owed under this contract shall become payable
              immediately. Should Seller default on any contract for the purchase or exchange of the property, any commission owed
              under this agreement shall become payable immediately.
   6.   When a contract to purchase is entered into for the purchase of Seller's property, the buyer may deposit earnest money with
        Broker. Broker will hold any such earnest money in a special, non-interest bearing escrow account on behalf of the buyer and
        Seller. At closing, the earnest money will be disbursed according to the terms of the contract to purchase. If the transaction
        fails to close:
        (a) due to fault of the Seller, the earnest money shall be returned to the buyer.
                S (b) THROUGH (d) BELOW, THE PARTIES SHOULD CHECK THE ONE PARAGRAPH WHICH APPLIES].
        [AS TO ¶
   □    (b) DUE TO FAULT OF THE BUYER, THE EARNEST MONEY SHALL FIRST GO TOWARD PAYING THE COMMISSION
            BROKER WOULD HAVE EARNED IN THE SALE, AND THE BALANCE, IF ANY, SHALL GO TO SELLER.
   □    (c) DUE TO FAULT OF THE BUYER, THE EARNEST MONEY SHALL BE DISTRIBUTED TO THE SELLER, LESS ANY
            COSTS OF ADVERTISING OR REASONABLE EXPENSES INCURRED BY BROKER.
   □    (d) due to fault of the buyer, the earnest money shall be distributed to the Seller.
   7.   Seller agrees that for the purpose of marketing Seller's property, Broker shall place Seller's property in the Multiple Listing
        Service(s) in which Broker is a member.
   8.   Seller makes the following elections with regard to having Sellers’s property displayed on any Internet site:
        (circle YES or NO to all that apply)
               Display listing on any Internet site:                                                 YES      NO
               Display Seller’s property address on Internet:                                        YES      NO
        Seller understands and acknowledges that if seller circles “NO” for the above two
        options, consumers who conduct searches for listings on the Internet will not see the
        corresponding information about Sellers’ property in response to their searches.
                 _____________          _____________              _____________
                 Seller’s Initials      Seller’s Initials          Date

                 Allow for automatic valuation tools to be used for Seller’s listing:             YES       NO
                 Allow for blogging or comments to be used or made regarding Seller’s listing:    YES       NO
   9.   Seller(s) acknowledge(s) that they have been informed of the responsibilities imposed upon sellers under the Residential Real
        Property Disclosure Act. Seller agrees to comply with the requirements of this Act to the best of Seller's ability and to not
        knowingly give any false or inaccurate information regarding the disclosures required by that Act.


                                                                                                  EXHIBIT A

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   10. Broker designates ____________________
                            MICHAEL HANSBROUGH , ("Seller's Designated Agent"), a sales associate(s) affiliated with Broker as the
       only legal agent(s) of the Seller. Broker reserves the right to name additional designated agents when in Broker's discretion it
       is necessary. If additional designated agents are named, Seller shall be informed in writing within a reasonable time. (ADD IF
       DESIRED: Seller acknowledges that Seller's Designated Agent may from time to time have another sales associate, who is
       not an agent of Seller, sit an open house of Seller's property or provide similar support in the marketing of Seller's property.)
       Seller understands and agrees that this agreement is a contract for Broker to market Seller's property and that Seller's
       Designated Agent(s) is (are) the only legal agent(s) of Seller. Seller's Designated Agent will be primarily responsible for the
       direct marketing and sale of Seller's property.
   11. Seller has been informed that potential buyers may elect to employ the services of a licensed real estate broker or sales
       associate as their own agent (buyer's agent).
   12. DISCLOSURE AND CONSENT TO DUAL AGENCY
       NOTE TO CONSUMER: THIS SECTION SERVES THREE PURPOSES. FIRST, IT DISCLOSES THAT A REAL ESTATE
       LICENSEE MAY POTENTIALLY ACT AS A DUAL AGENT, THAT IS, REPRESENT MORE THAN ONE PARTY TO THE
       TRANSACTION. SECOND, THIS SECTION EXPLAINS THE CONCEPT OF DUAL AGENCY. THIRD, THIS SECTION
       SEEKS YOUR CONSENT TO ALLOW THE REAL ESTATE LICENSEE TO ACT AS A DUAL AGENT. A LICENSEE MAY
       LEGALLY ACT AS A DUAL AGENT ONLY WITH YOUR CONSENT. BY CHOOSING TO SIGN THIS SECTION, YOUR
       CONSENT TO DUAL AGENCY REPRESENTATION IS PRESUMED.
       The undersigned ______________________________________________,
                       MICHAEL HANSBROUGH                              (“Licensee”/”Seller’s Designated Agent”), may
                                 (insert name(s) of Licensee undertaking dual representation)
       undertake a dual representation (represent both the seller or landlord and the buyer or tenant) for the sale or lease of property.
       The undersigned acknowledge they were informed of the possibility of this type of representation. Before signing this
       document please read the following:
       Representing more than one party to a transaction presents a conflict of interest since both clients may rely upon Licensee's
       advice and the client's respective interests may be adverse to each other. Licensee will undertake this representation only
       with the written consent of ALL clients in the transaction.
       Any agreement between the clients as to a final contract price and other terms is a result of negotiations between the clients
       acting in their own best interests and on their own behalf. You acknowledge that Licensee has explained the implications of
       dual representation, including the risks involved, and understand that you have been advised to seek independent advice from
       your advisors or attorneys before signing any documents in this transaction.

                           WHAT A LICENSEE CAN DO FOR CLIENTS WHEN ACTING AS A DUAL AGENT
       1.    Treat all clients honestly.
       2.    Provide information about the property to the buyer or tenant.
       3.    Disclose all latent material defects in the property that are known to the Licensee.
       4.    Disclose financial qualification of the buyer or tenant to the seller or landlord.
       5.    Explain real estate terms.
       6.    Help the buyer or tenant to arrange for property inspections.
       7.    Explain closing costs and procedures.
       8.    Help the buyer compare financing alternatives.
       9.    Provide information about comparable properties that have sold so both clients may make educated decisions on what
             price to accept or offer.
                    WHAT LICENSEE CANNOT DISCLOSE TO CLIENTS WHEN ACTING AS A DUAL AGENT
       1.    Confidential information that Licensee may know about a client, without that client's permission.
       2.    The price or terms the seller or landlord will take other than the listing price without permission of the seller or landlord.
       3.    The price or terms the buyer or tenant is willing to pay without permission of the buyer or tenant.
       4.    A recommended or suggested price or terms the buyer or tenant should offer.
       5.    A recommended or suggested price or terms the seller or landlord should counter with or accept.
             If either client is uncomfortable with this disclosure and dual representation, please let Licensee know. You are not
             required to sign this section unless you want to allow the Licensee to proceed as a Dual Agent in this transaction.
             By initialing here and signing below, you acknowledge that you have read and understand this form and voluntarily
             consent to the Licensee acting as a Dual Agent (that is, to represent BOTH the seller or landlord and the buyer or tenant)
             should that become necessary.
             ___________________________________              _________________________            _________________________
             Seller’s initials                                         Seller’s initials                    Date

   13. Broker is authorized to show the property to prospective buyers represented by buyer's agents, and Broker, in its sole
       discretion, may pay a part of the above commission to buyer's agent or other cooperating agents. Broker is authorized in its
       sole discretion to determine with which brokers it will cooperate, and the amount of compensation that it will offer cooperating
       brokers in the sale of Seller's property. Seller acknowledges that the compensation offered to such cooperating brokers may
       vary from broker to broker.




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   14. Seller understands that Broker and/or Designated Agent may have previously represented a buyer who is interested in your
       property. During that representation, Broker and/or Designated Agent may have learned material information about the buyer
       that is considered confidential. Under the law, neither Broker nor Designated Agent may disclose any such confidential
       information to you.
   15. Seller understands and agrees that other sales associates affiliated with Broker, other than Seller's Designated Agent(s), may
       represent the actual or prospective buyer of Seller's property. Further, Seller understands and agrees that if the property is
       sold through the efforts of a sales associate affiliated with Broker who represents the Buyer, the other sales associate affiliated
       with Broker will be acting as a buyer's designated agent.
   16. Seller agrees to immediately refer to Seller's Designated Agent all prospective buyers or brokers who contact Seller for any
       reason and to provide Seller's Designated Agent with their names and addresses.
   17. Broker and Seller's Designated Agent are authorized in their sole discretion, to place a for sale sign on the property, if
       permitted by law, to remove all other such signs, to place a lockbox on the property, to have access to the property at all
       reasonable times for the purpose of showing it to prospective buyers, to cooperate with other brokers and to use pictures of
       the property and to expose property information and/or images to the Internet for marketing purposes.
   18. Seller agrees to provide a limited home warranty program from _____________________________ at a charge of $________
       plus options, if any. Seller acknowledges that the home warranty program is a limited warranty with a deductible. Seller
       acknowledges receipt of the application for such home warranty program. [STRIKE THROUGH IF NOT OFFERED].
   19. Items such as wall-to-wall carpeting, garage door openers, smoke detectors, built-in appliances, light fixtures, landscaping and
       many indoor and outdoor decorative items may legally be "fixtures" and if so they must remain with the house unless
       specifically excluded in the Purchase Agreement. (Discuss this matter with Seller's Designated Agent to avoid uncertainty for
       all parties regarding what you may take and what should remain with the house, and make specific provisions for these items
       in the Purchase Agreement.)
   20. Seller understands that the information which Seller provides to Seller's Designated Agent as listing information will be used to
       advertise Seller's property to the public, and it is essential that this information be accurate. SELLER HAS EITHER
       REVIEWED THE MLS LISTING INPUT SHEET AND REPRESENTS THAT THE INFORMATION CONTAINED IN IT IS TRUE
       AND ACCURATE TO THE BEST OF SELLER'S KNOWLEDGE, OR SELLER UNDERSTANDS THAT THEY HAVE AN
       OBLIGATION TO PROVIDE ACCURATE, TRUTHFUL INFORMATION TO BE PUT IN THE MLS INPUT SHEET AND
       HEREBY PROMISES TO FULFILL THIS OBLIGATION. Although Seller is listing Seller's property in its present physical
       condition ("as is" condition), Seller understands that Seller may be held responsible by a buyer for any latent or hidden,
       undisclosed defects or concealed defects in the property which are known to Seller but which are not disclosed to the buyer.
   21. Seller agrees to save and hold Broker harmless from all claims, disputes, litigation, judgments, and costs (including
       reasonable attorney's fees) arising from Seller's breach of this agreement, from any incorrect information or misrepresentation
       supplied by Seller or from any material facts, including latent defects, that are known to Seller that Seller fails to disclose.
   22. This contract shall be binding upon and inure to the benefit of the heirs, administrators, successors, and assigns of the parties
       hereto. This contract can only be amended by a writing signed by the parties.
   23. THE PARTIES UNDERSTAND AND AGREE THAT IT IS ILLEGAL FOR EITHER OF THE PARTIES TO REFUSE TO DISPLAY OR
       SELL SELLER’S PROPERTY TO ANY PERSON ON THE BASIS OF RACE, COLOR, RELIGION, SEX, NATIONAL ORIGIN,
       ANCESTRY, AGE, ORDER OF PROTECTION STATUS, MARITAL STATUS, PHYSICAL OR MENTAL HANDICAP, MILITARY
       STATUS, SEXUAL ORIENTATION, UNFAVORABLE DISCHARGE FROM MILITARY SERVICE, FAMILIAL STATUS OR ANY
       OTHER CLASS PROTECTED BY ARTICLE 3 OF THE ILLINOIS HUMAN RIGHTS ACT. THE PARTIES AGREE TO COMPLY WITH
       ALL APPLICABLE FEDERAL, STATE AND LOCAL FAIR HOUSING LAWS.

   Seller hereby acknowledges receipt of a signed copy of this agreement and all attachments. The attachments include the
   following: [HERE LIST ALL ATTACHMENTS]._______________________________________________________________
                                                 RIDER TO EXCLUSIVE LISTING

   ____________________________________________________________________________________________________.
                                                (If seller is married both signatures are required)

   SELLER:__________________________                             ______________________________, Broker

   SELLER:__________________________                             BY: ___________________________ DATE: ______________

   ADDRESS:________________________                              ______________________________ DATE: ______________
   _________________________________                             Seller’s Designated Agent

   DATE:____________________________                             PHONE:_______________________ OFFICE:_____________


 /S/ JOJI TAKADA     ,
Joji Takada, not individually but as
Chapter 7 Trustee to the estate of
Kubas



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                      RIDER TO EXCLUSIVE LISTING AGREEMENT
                                    (KUBAS)

        This Rider is expressly made part of that certain Exclusive Right to Sell (the “Listing
Agreement”) between Joji Takada, not individually but as Trustee for the estate of Kubas
(“Trustee”), and Michael Hansbrough and Prestige Properties Real Estate Pros., Inc.
(collectively, “Broker”) relating to the listing for sale of the single-family residence located at
2116 Glenridge Court, Plainfield, Illinois (the “Real Estate”).
        1.     Should there be any conflict between the terms of the Listing Agreement and this
Rider, the terms of this Rider shall control.

       2.      Trustee and Broker acknowledge and agreed to the following:

                      (a)    The Listing Agreement is subject to court approval in the
       bankruptcy case of In re Kubas, Case No. 18-35634, pending in the U.S. Bankruptcy
       Court for the Northern District of Illinois (the “Bankruptcy Court”).
                     (b)    No compensation or reimbursement of expenses shall be earned,
       due and payable to Broker under the Listing Agreement or otherwise except upon
       approval of the Bankruptcy Court, closing of a sale, and disbursement of the sale
       proceeds to Trustee.

                      (c)    The Real Estate shall be sold “as is/where is”, without any
       warranties of any kind or nature, except as to title.

                      (d)    Any and all contracts for sale of the Real Estate shall be subject to
       approval of the Bankruptcy Court.

                       (e)     The term of the Listing Agreement will commence upon the day
       that an order entered by the Bankruptcy Court authorizing the Trustee to enter into the
       Listing Agreement becomes final and non-appealable and will continue for six months
       thereafter (the “Initial Term”); provided, that Trustee and Broker may extend the Initial
       Term for one or more additional six-month periods by agreement in writing.

                      (f)     The Listing Agreement may be terminated at any time, without fee
       or penalty, by order of the Bankruptcy Court.

                       (g)     The initial marketing price for the Real Estate will be not less than
       $275,000.00.
                       (h)     Broker shall receive a commission of 5.0% of the gross sale price.
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                 EASTERN DIVISION

                                                                 Case   No.:18'35634
In re:

                                                                 Chapter 7
Denise M. Kubas Longo,

                                                                 Honorable Pamela S. Hollis
                                      Debtor(s).                 (Joliet)



                               AFFIDAVIT OF MICHAEL IIANSBROUGH
                          oFPRESTIGEPROPERTIESREALESTATEPROS'INC.
                                                                        as my affidavit   in support of the Trustee's
          I, Michael Hansbrough, state the following
                                                 Motion"):
Motion io Employ Real Estate Broker (o'Trustee's

          l.Iarrarealtorlicensedbythestateoflllinois,andlamassociatedwiththereal
                                                    pros,  ('prestige properties") which
                                                                   rnc.
 estate brokerage  firm of prestige properties Real Estate
                                  place, s"it. r, Lansing,  Illinois 60438. I am authorizedto make
 maintains offices at Two River
                             prestige properties. I_ * d a creditor of the estate in the above-
 this affidavit on beharf of
                                                  hold no interests that are adverse to the estate'
 captioned banlorrptcy case, and I represent and

       2.Tothebestofmyknowledgeandbelief.exceptasdisclosedintheTrustee,s                  (i)
 Motion, neither I nor any employee
                               -rr*-ditorr,
                                            P;;-t;i'; froplrgs has any connection with the above-
                 (ii) Debior,r          "f iiiii d. u*tea.st{es Trustee, (iv) any person employed
 named Debtor,
 by the United States Trustee, or (v)                   J;;th;' t"ny i" interest' their respective attorneys and
 accountants.
                                                                                   be sold with the Joji
           3.             I have discussed the marketing and sale of the properfyp      estate of Denise
                                             Trristee ('Trustee")   11'" bankruptc,
 Takada, not individually, but as Chapter 7                                       'f
                                                                           by Trustee to market and
 M. Kubas Longo. Prestige Properties t u, pr"rio,,*ly
                                                           b""' employed
 sell real estate in other ctiapter "us", and      i
                                              non-banla:uptcy related cases'

           4.NeitherlnoranyemployeeofPrestige_Propertiesholdorrepresentarryinterest
                                             estate, or the United States Trustee'
  adverse to that of Trustee, the bankruptcy
                                                                                                             are
                                                          I believe Iand the employeesof Prestige Properties
            5.            Based on the foregoing,
                                                           of Section 101(14) of the Bankruptcy Code'
                                               " -"*iog
  disinteresteA       p".rom within tt

         6.IhaveadvisedTrusteeofmyftrm'swillingnesstoserveasTrustee,srcalestate
                                                 based on-the terms set forth in the Purchase
  broker with respect to the subject real estate
  Agreement attached to the Trustee's Motion,
                                                with payment of compensation to be subject to
  allowance bY this Court.

                                                                                EXHIBIT B


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        7.                         amend this affrdavit to the extent that
                   I will seasonably                                              I   become aware   of
relationships for which disclosure is appropriate'

FURTHER AFFTANT SAYETH NAUGHT.
                      1i
Dated: 1\q\r'r                               ,-
                                                       Michael Hansbrough
                                                       Prestige Properties Real Estate Pros, Inc'




  {ooot0847 / 2ot6 t 012   l}                          2
